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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

SHANNON A. DARDAR AND
NANCY G. DEABTE                                                          CIVIL ACTION

VERSUS                                                                   NO. 10-1589

AMERIQUEST MORTGAGE CO. AND
DEUTSCHE BANK NATIONAL TRUST CO.                                         SECTION “K” (5)



                                        JUDGMENT

       Considering the order entered March 16th, 2011, granting the motions to dismiss filed on

behalf of defendants Ameriquest Mortgage Company and Deutsche Bank National Trust

Company, and further considering the Court’s direction that judgment be entered;

       IT IS ORDERED that judgment shall be entered in favor of defendants Ameriquest

Mortgage Company and Deutsche Bank National Trust Company dismissing all of plaintiffs’

remaining claims with prejudice.

       New Orleans, Louisiana, this 16th day of March, 2011.


                                              ________________________________________
                                                       STANWOOD R. DUVAL, JR          .
                                               UNITED STATES DISTRICT COURT JUDGE
